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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                      Case No. 1:19-cv-02443-RDM

            v.

 JONES DAY, STEPHEN J. BROGAN,
 and BETH HEIFETZ,

      Defendants.


PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR 30-DAY EXTENSION
       For the following reasons, Defendants cannot show good cause for a 30-day extension. See
Fed. R. Civ. P. 6(b)(1). Plaintiffs respectfully ask that the Court deny their motion.
       1.        Defendants have already taken definitive legal and factual positions on this routine
employment discrimination case, demonstrating that they have had all the time they need to
investigate and research it. On the same day Plaintiffs filed the Complaint, Jones Day—which has
had Plaintiffs’ EEOC charges since June—posted to the firm’s home page (and then to Facebook
and Twitter) an inaccurate and misleading statement from Defendant Stephen Brogan discussing
Plaintiffs’ claims and smearing their reputations. Brogan’s statement, which is attached as Exhibit
A, makes clear that Defendants lack good cause for an extension.
       The issues that Defendants seek additional time to look into are straightforward: whether
Jones Day’s parental leave policy is unlawfully discriminatory; whether a negative review that
reduced Julia’s 2017 raise through Jones Day’s black-box compensation system was
discriminatory; and whether Defendants’ firing of Mark three business days after Plaintiffs
challenged the parental leave policy was unlawful retaliation and interference with parental leave.
       The issue about the legality of the parental leave policy is a question of law that Jones Day
has already answered.       Brogan’s tweeted statement expresses a definitive legal view: that
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Plaintiffs’ position is “legally indefensible” and ignores “both the law and biology.” Ex. A. And
Jones Day rejected Plaintiffs’ request for equal treatment nearly a year ago by emailing their legal

defense of the policy, which declares that the two cases and EEOC guidance example cited in that
email “confirm the propriety of Jones Day’s approach.” Ex. B.
       Defendants also have purportedly investigated and adjudicated Julia’s claim of pay
discrimination. Brogan’s statement announces that the claim is “frivolous” and “was not made in
good faith” (Ex. A)—an extremely serious allegation against Julia as an officer of this Court that
surely would not have been made by a world-class law firm absent an exhaustive investigation.
       And Defendants fired Mark, so they know why they fired him. They have given their
reason in Brogan’s statement. Ex. A. There is nothing to investigate.
       2.       Jones Day could afford to hire any firm in the world to defend it; it has chosen to
litigate pro se. It is fully equipped to respond in September. The two attorneys that Defendants
selected to enter appearances—the current head of the firm’s ten European offices (which might
explain why she is “currently traveling abroad”) and the former head of its Boston office—are
among the highest ranking of Jones Day’s 2,500 lawyers. They will be supported by a small army
of unnamed associates and other partners.1
       Jones Day demonstrated that it can move quickly when it wants to—and that it considers
the legal rights involved here either very straightforward or totally insignificant—when it took just
three business days from receiving the January 16 email set forth at paragraph 146 of the Complaint
to fire Mark. Defendants do not need 51 days to respond in this case.
       3.       As for prejudice, Plaintiffs recognize that anyone who challenges discrimination in
court must accept a certain level of stress and other psychological and reputational harms for the
duration of the lawsuit. But it is also true that delay is the standard tactic of employers charged
with discrimination, and that unnecessary delays in discrimination cases undermine the civil rights


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  With the vast resources at their disposal, it is notable that Defendants chose as their lead counsel
a partner who supervised Mark’s work in 2018, wrote him a kind email recognizing his
commitment to the case, and is a fact witness in this litigation.

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laws by unnecessarily increasing the costs to plaintiffs of pursuing their rights. Presumably that
is why the Civil Rights Act of 1964 instructs that employment discrimination cases “be in every

way expedited.” 42 U.S.C. § 2000e-5(f)(5). Defendants’ tactic of putting off litigation in court
even as they attack Plaintiffs on Facebook and Twitter also undermines the civil rights laws by
deterring others from speaking out against discrimination at Jones Day.
       Plaintiffs seek an expeditious resolution to this case. Delay is particularly prejudicial here
because litigation of this suit will refute Brogan’s statement—which remains posted to Jones Day’s
home page and “pinned” to the top of its Twitter account—and vindicate Plaintiffs. Defendants
are fully entitled to try this case on social media. But Plaintiffs submit that Defendants should not
be permitted to do so while at the same time putting off Plaintiffs’ vindication in court.
       Plaintiffs recognize that good cause for extensions of time often exists. Under the
circumstances, however, Defendants cannot show good cause for a 30-day extension, which would
work against the just and speedy determination of this action. Plaintiffs respectfully ask that the
Court deny Defendants’ motion.


Dated: August 19, 2019



 /s/ Julia Sheketoff                                      /s/ Mark C. Savignac
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